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                         Nos. 22-16888, 22-16889

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT

IN RE: FACEBOOK SIMULATED CASINO-STYLE GAMES LITIGATION,
                    KATHLEEN WILKINSON, et al.,
                                              PLAINTIFFS-APPELLEES,
                                     V.

                            FACEBOOK, INC.,
                                                     DEFENDANT-APPELLANT.

             On Appeals from the United States District Court
                 for the Northern District of California
               No. 5:21-cv-02777 (Hon. Edward J. Davila)

      BRIEF OF AMICUS CURIAE ELECTRONIC FRONTIER
      FOUNDATION IN SUPPORT OF DEFENDANT-APPELLANT
       AND AFFIRMANCE IN PART AND REVERSAL IN PART


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                        STATEMENT OF INTEREST1

      The Electronic Frontier Foundation (“EFF”) is a member-supported,

nonprofit civil liberties organization that has worked for more than 30 years to

protect innovation, free expression, and civil liberties in the digital world. On

behalf of its more than 39,000 dues-paying members, EFF ensures that users’

interests are represented in courts considering crucial online free speech issues,

including their right to transmit and receive information online.

      EFF has litigated or otherwise participated in a broad range of internet free

expression and intermediary liability cases because they often raise novel issues

surrounding free expression and the rights of internet users. EFF often files amicus

curiae briefs in these cases because their outcome can significantly impact, and

sometimes curtail, the free expression rights of all users who rely on internet

platforms. See Packingham v. North Carolina, 582 U.S. 98, 104 (2017) (citing

EFF’s amicus curiae brief). EFF believes that 47 U.S.C. § 230 (“Section 230”) is

a foundational law that enables internet speech by protecting the intermediaries




1
  Pursuant to Federal Rule of Appellate Procedure Rule 29(a)(4)(E), amicus
curiae certifies that no person or entity, other than amicus curiae, its members,
or its counsel, made a monetary contribution to the preparation or submission of
this brief or authored this brief in whole or in part. The parties have consented to
the filing of this brief.


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that host people’s speech.2 EFF thus regularly participates in cases that seek to

limit Section 230 because they jeopardize users’ free speech.

                                INTRODUCTION

        Online intermediaries provide the foundational building blocks of the

“‘vast democratic forums of the Internet,’” which the Supreme Court recognized

as “the most important place[] … for the exchange of views” today. Packingham

v. North Carolina, 582 U.S. 98, 104 (2017) (quoting Reno v. ACLU, 521 U.S. 844,

868 (1997)). Few internet users have the technological know-how or financial

resources to build their own applications (“apps”) and websites, transmit their

own email messages, or ensure that their creative content is delivered to ready

audiences. Online intermediaries proved essential in hastening the internet’s

evolution from a military project to a tool used by virtually everyone, and they

provide the underlying structure that enables the internet “to alter how we think,

express ourselves, and define who we want to be.” Id. at 105.

        In enacting 47 U.S.C. § 230 (“Section 230”), Congress recognized the

crucial role that online intermediaries play in users’ ability to speak freely online.

Section 230’s immunities protect the architecture of the internet—the services that

provide the “essential venues for public gatherings to celebrate some views, to

protest others, or simply to learn and inquire.” Packingham, 582 U.S. at 104.


2
    See EFF, Section 230, https://www.eff.org/issues/cda230.


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When everyone with an internet connection can access others’ expression, a user

who created content can become “a pamphleteer” or “a town crier with a voice

that resonates farther than it could from any soapbox.” Reno, 521 U.S. at 870.

Section 230 fostered the development of services that would realize the internet’s

promise to give everyone that power.

        Congress granted online intermediaries robust protections precisely

because it decided that immunizing them from lawsuits related to harmful content

created by their users and from lawsuits related to managing user content would

provide significant benefits.3 Congress understood that Section 230 would: (1)

enable the vast development of diverse forums for free expression and (2)

incentivize services to moderate their users’ expression and give users tools to

manage their own online experiences. Internet users have benefitted greatly from

Section 230, which has increased their opportunities to express themselves. The

statute’s legal protections have thus enabled a revolution in the types of forums

available for everyone to speak while lowering the costs once associated with

mass communications.

        Plaintiffs seek a narrow interpretation of Section 230(c)(1) that would

drastically erode the significant benefits Congress sought in enacting the statute.

Specifically, Plaintiffs have three theories of liability. In re Apple Inc. App Store

3
    See 47 U.S.C. § 230(c)(1) & (c)(2).


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Simulated Casino-Style Games Litig. (“Casino-Style Games”), 625 F. Supp. 3d

971, 993 (N.D. Cal. 2022).

      The first and third theories of liability relate to the Defendants “‘offering,

categorizing, and promoting’ social casino applications in their respective App

Stores,” including by using algorithms to raise the profiles of apps, and by

enabling app developers to conduct targeted advertising based on game activity

to increase user engagement. Id. at 975-76, 993. This suite of allegations amounts

to trying to hold Defendants responsible for providing recommendations and

notifications, and engaging in other publishing or editorial activities, about

content provided by others, which the district court rightly held are activities

shielded by Section 230 immunity. Id. at 994-95. See also Zeran v. Am. Online,

Inc., 129 F.3d 327, 330 (4th Cir. 1997) (Section 230 bars “lawsuits seeking to

hold a service provider liable for its exercise of a publisher’s traditional editorial

functions—such as deciding whether to publish, withdraw, postpone or alter

content”).

      After this Court’s opinion was vacated in Gonzalez v. Google LLC, 2 F.4th

871 (9th Cir. 2021), vacated and remanded, 143 S.Ct. 1191 (2023), this Court has

an opportunity again hold that recommendations and notifications provided by

platforms—about third-party content—fall under Section 230(c)(1), “lest [this

Court] cut the heart out of section 230 by forcing [platforms] to face death by ten



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thousand duck-bites, fighting off claims that they promoted or encouraged—or at

least tacitly assented to—the illegality of third parties.” See Fair Housing Counsel

of San Fernando Valley v. Roommates.com, LLC, 521 F.3d 1157, 1174 (9th Cir.

2008) (en banc). See also Jones v. Dirty World Ent. Recordings LLC, 755 F.3d

398, 415 (6th Cir. 2014) (declining to adopt an “encouragement theory” for losing

Section 230(c)(1) immunity).

      Plaintiffs’ second theory of liability seeks to hold Defendants responsible

for being the payment processors for in-app virtual gambling chips, a type of

virtual content. Casino-Style Games, 625 F. Supp. 3d at 976, 993. The district

court erred in holding that these actions fall outside Section 230(c)(1) immunity,

concluding that Plaintiffs “seek[] to hold the Platforms liable for their own

conduct.” Id. at 994. Affirming the district court’s holding would result in drastic

consequences as online intermediaries would lose Section 230 immunity for

providing content-neutral financial tools for third-party content. This would harm

users’ ability to access the breadth of apps and content currently available via the

app stores and the internet generally, as platforms would be forced to curtail users’

ability to purchase and access virtual content that has not been vetted for

lawfulness to mitigate the companies’ legal risk.




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                                      ARGUMENT

           Plaintiffs advance a radical argument to narrow Section 230(c)(1) that runs

contrary to the statute’s text and purpose, which confirm that Congress sought to

broadly immunize online intermediaries from legal claims based on the speech of

one of the millions of “pamphleteers” using them, including those who create

allegedly illegal social casino apps. See Reno, 521 U.S. at 870. Additionally, the

judicial interpretation of Section 230 that Plaintiffs seek would be detrimental to

all users’ speech online. It would incentivize online platforms to take down ever

more user-generated content, and would limit their ability to provide financial

tools that enhance the user experience and facilitate the online marketplace.

           Section 230 provides one of the legal foundations that enable online

intermediaries to provide their services to internet users. “Section 230 has allowed

third-party content-based services to flourish in the United States.”4 “[I]t is not an

accident that U.S. websites are relatively liberal with third-party content; Section

230 allows them to take those liberties.”5




4
 Jeff Kosseff, The Twenty-Six Words That Created the Internet, Cornell
University Press, 4 (2019) (“Twenty-Six Words”).
5
    Id.


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I.    Narrowing Section 230(c)(1)’s Immunity Would Harm Internet
      Users’ Free Speech

      Internet users’ free speech would be gravely harmed should this Court

endorse Plaintiffs’ arguments and interpret Section 230(c)(1) as not immunizing

recommendations and other tools that online intermediaries employ to make user-

generated content available over the internet.

      In passing Section 230, “Congress recognized the threat that tort-based

lawsuits pose to freedom of speech.” Zeran, 129 F.3d at 330. Yet narrowing

Section 230(c)(1)     immunity as Plaintiffs urge this Court to do would

fundamentally change the relationship between online platforms and their users

by incentivizing companies to drastically alter the digital services they provide

while simultaneously curtailing what people can post and access online. Online

intermediaries would face increased liability, and they would also spend increased

time and money defending lawsuits that may drag on for years and be exceedingly

costly, regardless of the substantive merits of the claims.6 The fear of both would




6 Section 230 is both a defense against liability and a procedural means to end a
lawsuit early. See Roommates.com, 521 F.3d at 1175 (“[S]ection 230 must be
interpreted to protect websites not merely from ultimate liability, but from
having to fight costly and protracted legal battles.”). Cf. Wicks v. Miss. State
Emp’t Servs., 41 F.3d 991, 995 n.16 (5th Cir. 1995) (“[I]mmunity means more
than just immunity from liability; it means immunity from the burdens of
defending a suit”).


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drive fundamental changes to how online platforms operate, including an increase

in censorship of user content.

      A.     Users Would No Longer Benefit From Recommendations or
             Content Would Be Removed If Section 230(c)(1) Immunity Is
             Lost for Recommendations

      Plaintiffs’ first and third theories of liability relate to Defendants “‘offering,

categorizing, and promoting’ social casino applications in their respective App

Stores.” Casino-Style Games, 625 F. Supp. 3d at 975-76, 993. By arguing that

these actions fall outside Section 230(c)(1) immunity, Plaintiffs seek to hold the

platforms responsible not only for hosting, but also for recommending third-party

content.

      Yet these actions reflect the platforms’ protected choices about how to

arrange and display user-generated content. In this way, online intermediaries act

just as print publishers did before them.7 And Congress understood this. Section

230(c)(1) protects online intermediaries that give users access to content


7 Newspapers traditionally made, and continue to make, decisions to direct
readers to certain articles or advertisements, including where they place that
content in the newspaper, what size headlines to use, which to accompany with
photographs, etc. These decisions may be customized for different editions of
the newspaper since the publisher is aiming at different audiences. Newspapers
have not traditionally published all articles in the same font organized solely by
when the article was completed. See Pittsburgh Press Co. v. Pittsburgh Comm’n
on Human Relations, 413 U.S. 376, 391 (1973) (stating under the First
Amendment “we reaffirm unequivocally the protection afforded to editorial
judgment” including for both content and layout of newspapers). See also Apple
Opening Br. (July 24, 2023) at 36.

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“provided by another” individual or entity—in this case, the social casino apps

available via Defendants’ app stores. 47 U.S.C. § 230(c)(1). And those online

intermediaries include services that, among other things, “filter, screen, allow, or

disallow content;” “pick [and] choose” content; and make decisions about how to

“display,” “organize,” or “reorganize” content. 47 U.S.C. § 230(f)(4). Thus, as a

technical and common-sense matter, Section 230’s protections must include both

hosting and recommending third-party content.

      In addition to a plain reading of the statutory language, this Court has

rejected exposing online intermediaries to potential legal liability for having

“promoted or encouraged—or at least tacitly assented to—the illegality of third

parties.” Roommates.com, 521 F.3d at 1174. Accord Jones, 755 F.3d at 415. The

district court correctly held that Section 230(c)(1) applies to Plaintiffs’ first and

third theories of liability, and this Court should take this opportunity to again

affirm that Section 230(c)(1) not only applies to hosting user-generated content,

but also actions that amount to recommending user-generated content. See Dyroff

v. Ultimate Software Group, Inc., 934 F.3d 1093, 1098 (9th Cir. 2019) (holding

that “recommendations and notifications are tools meant to facilitate the

communication and content of others” and “are not content in and of

themselves”).




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       Such a holding would recognize the significant consequences of placing

recommendations and notifications outside of Section 230 protection.

       If online intermediaries—and not just app stores—know that they may be

exposed to substantive claims related to how their systems recommend, promote,

rank, arrange, or otherwise display content posted by their users, companies will

cease to curate user-generated content in any helpful way, beyond perhaps listing

it in reverse chronological order.8 This is particularly likely given the challenges

of monitoring user-generated content at scale—that is, the content of millions or

billions of users.9

       The end of niche curation would harm internet users as recommendations

and notifications help users find content relevant to their interests and connect

with other users that share their interests and values. For example, a service may

stop providing users with new content that is like material they have viewed in

the past, on the theory that such basic matching is a recommendation that falls




8
 See Daphne Keller, Amplification and Its Discontents, Knight First
Amendment Institute at Columbia University, 23-24 (June 8, 2021),
https://knightcolumbia.org/content/amplification-and-its-discontents.
9
 See, e.g., Mathew Ingram, The Challenges of Global Content Moderation, The
Media Today, Columbia Journalism Review (June 10, 2021),
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moderation.php.


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outside Section 230.10 The internet would become a much less dynamic and less

valuable space for online communities, largely because services may no longer

introduce people to new content that they might find interesting. This result would

run counter to Congress’ goal of preserving the “array” of internet services that

provide valuable “educational and informational resources to our citizens.” 47

U.S.C. § 230(a)(1).

      Or, to preserve their ability to recommend content to users, online

intermediaries would remove any third-party content that may in any way expose

the companies to legal risk were that content to be swept up in the companies’

platform-wide recommendation algorithms. Platforms would be cautious even if

user-generated content might ultimately be found lawful, as they would fear the

costs and burdens of defending meritless claims absent Section 230 immunity.

This is because Section 230 not only shields online intermediaries from liability,

but also from being involved in protracted litigation. See Roommates.com, 521

F.3d at 1175.




10
  See, e.g., YouTube, Recommended Videos (recommended videos are based
on, in part, users’ watch history),
https://www.youtube.com/howyoutubeworks/product-
features/recommendations/#signals-used-to-recommend-content.


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      B.     The Breadth of Apps and Virtual Content Available to Users
             Would Be Narrowed If Section 230(c)(1) Immunity Is Lost for
             Processing Third-Party Payments

      A conclusion by this Court that an online intermediary’s provision of

payment processing services for third-party content triggers the loss of Section

230(c)(1) immunity would be disastrous for the whole of the internet. Plaintiffs’

second theory of liability takes a common aspect of today’s internet experience—

purchases of virtual content (or other benefits) via games, apps, and websites

generally—and contort it to fit their legal argument.11 The district court erred in

holding that these actions fall outside Section 230(c)(1) immunity, concluding

that Plaintiffs “seek[] to hold the Platforms liable for their own conduct.” Casino-

Style Games, 625 F. Supp. 3d at 994.

      Congress never intended to create a legal distinction between hosting

user-generated content and enabling purchases of that same user-generated

content. Congress simply wanted to shield online intermediaries from being held

liable for content that others create. See Doe v. Internet Brands, Inc., 824 F.3d

846, 850 (9th Cir. 2016) (Section 230(c)(1) “protects websites from liability for



11
  For gaming specifically, in 2020, global audiences spent $54 billion on
“additional in-game content,” and that amount is projected to reach $74 billion
by 2025. J. Clement, Consumer Spending on In-Game Purchases Worldwide
From 2020 to 2025, Statista (Sept. 7, 2021),
https://www.statista.com/statistics/558952/in-game-consumer-spending-
worldwide/.


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material posted on the website by someone else”). Accord Zeran, 129 F.3d at

330 (“By its plain language, [Section 230(c)(1) ] creates a federal immunity to

any cause of action that would make service providers liable for information

originating with a third-party user of the service.”). It should not matter that an

online intermediary facilitates a purchase of third-party content, when if the

company simply hosted that content without being involved in a financial

transaction between two users (or making a recommendation, for that matter), it

would unquestionably be entitled to Section 230 (c)(1) immunity. See, e.g.,

Ginsberg v. Google Inc., 586 F. Supp. 3d 998, 1006 (N.D. Cal. 2022) (granting

Section 230(c)(1) immunity against claims based on providing Telegram

messaging app in the Google Play store).

      Thus, exposing Defendants to liability for their provision of payment

processing services for problematic user-generated content essentially means

exposing them to liability for problematic user-generated content. There is no

practical distinction. If a piece of user-generated content is unlawful (as alleged

here, virtual gambling chips), concluding that a platform may be sued for

facilitating its purchase is the functional equivalent of concluding that the

platform may be sued for hosting that content. With this argument, Plaintiffs and

the district court are doing an end-run around Section 230(c)(1) immunity. See

Google Opening Br. (July 24, 2023) at 29 (arguing that Plaintiffs have engaged in



                                         13
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“creative pleading”). See also Apple Opening Br. (July 24, 2023) at 43-44

(arguing that Plaintiffs’ claims “inextricably depend on third-party content”);

Meta Opening Br. (July 24, 2023) at 57 (arguing “there is no meaningful

distinction for purposes of Section 230 between hosting content and charging a

fee to facilitate access to content”).

      Plaintiffs’ proposed legal regime would force Defendants to review every

app to ensure that they do not involve purchases for virtual content that may in

any way expose the companies to lawsuits. This runs counter to this Court’s

decision in HomeAway.com, Inc. v. City of Santa Monica, 918 F.3d 676 (9th Cir.

2019). In that case, a Ninth Circuit panel held that Section 230(c)(1) did not shield

short-term rental websites from Santa Monica’s municipal ordinance that

prohibited the websites from processing payments for unlicensed real-world

properties. Id. at 684. The Court stated that the key question is “what the duty at

issue actually requires: specifically, whether the duty would necessarily require

an internet company to monitor third-party content.” Id. at 682. The Court held

that “the Ordinance does not require the Platforms to monitor third-party content

and thus falls outside of the CDA’s immunity.” Id. at 682. By contrast, Plaintiffs

here seek to hold Defendants liable for processing payments for virtual content

created by app developers, which would most definitely force the platforms to

review all purchasable in-app content for any hint of legal risk. See Google



                                         14
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Opening Br. (July 24, 2023) at 34-35; Apple Opening Br. (July 24, 2023) at 49-

50; Meta Opening Br. (July 24, 2023) at 51.

      A loss of Section 230(c)(1) immunity for processing financial transactions

related to third-party content would be disastrous for internet users—and not just

those who use social casino apps.

      At a minimum, Defendants would avoid processing payments for virtual

gambling chips in social casino apps, forcing the app developers to process

payments themselves or to find a new revenue model, which may add friction to

and degrade the user experience.12 Or Defendants would simply remove the social

casino apps from their app stores, even if there is not consensus on their alleged

illegality, to avoid possible future litigation.13 More broadly, Defendants would

refuse to facilitate financial transactions for any in-app content that raises legal


12
  See, e.g., Apple Support, Use Apple Pay in Apps, App Clips, and Safari on
iPhone, iPhone User Guide, https://support.apple.com/guide/iphone/use-apple-
pay-in-apps-app-clips-and-safari-iph67e89f7c8/ios.
13
   See 2-ER-46, Plaintiffs’ Answer to Petition for Leave to Appeal and
Conditional Cross-Petition (Sept. 22, 2022) at 3 (arguing “[i]n at least one
state—and Plaintiffs allege many more—these casino games are considered
illegal online gambling,” citing Kater v. Churchill Downs Inc., 886 F.3d 784
(9th Cir. 2018)). See also Eric Goldman, Section 230 Doesn’t Protect App
Stores That Sell Virtual Chips for Casino Apps–In re Apple App Store (Sept. 6,
2022) (arguing that “[t]he consequences of a payments-forecloses-230 exclusion
are potentially seismic” and asking “can an app engage in ‘gambling’ if the
player can never accumulate a financial benefit?”),
https://blog.ericgoldman.org/archives/2022/09/section-230-doesnt-protect-app-
stores-that-sell-virtual-chips-for-casino-apps-in-re-apple-app-store.htm.


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questions, or would remove apps wholesale, harming users’ ability to have robust

app-based experiences14 and undermining the internet as a source “for a variety

of political, educational, cultural, and entertainment services.” 47 U.S.C. §

230(a)(5). See Apple Opening Br. (July 24, 2023) at 52 (arguing that Plaintiffs’

argument is “limitless” because “processing any transaction for in-app content on

any app could potentially expose Apple to legal risk”) (emphasis in original).

      In-app purchases are particularly beneficial as they allow app developers to

offer apps for “free” to users without any upfront costs. In 2021, 95% of mobile

apps were free to install.15 This gives price-conscious users access to the broadest

array of gaming and other app-based services, where users can choose to spend

money once inside the service.16



14
  In-app purchases may be consumable or non-consumable. Consumable
purchases “are virtual products that can be purchased and then used only once,”
and in gaming may include “extra lives, hints, one-time features, or in-app
currency like tokens.” Non-consumable purchases “are products that, once
purchased within the game, have no expiration date and can be used on a
recurring basis,” and may include “unlocking a new level within a game or
upgrades for a character or vehicle.” AppsFlyer, In-Game Purchase,
https://www.appsflyer.com/glossary/in-game-purchase/.
15
  AppsFlyer, App Monetization Guide: How to Generate Revenue From Apps in
2022, https://www.appsflyer.com/resources/guides/app-monetization/.
16
   Id. (“Making your app free has several benefits that can help you generate
more revenue in the long run, because it lowers the risk [to users] involved of
trying your app out. A free app requires very little commitment, which in turn,
makes it easier and cheaper to acquire new users.”).


                                        16
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         A ruling for Plaintiffs here would have ripple effects across the internet.

Beyond Defendants and their app stores, other online intermediaries would also

refuse, out of fear of losing Section 230(c)(1) immunity, to facilitate financial

transactions for user-generated content that might expose the platforms to legal

risk—again, even if that content is lawful. Etsy, for example, is a global online

marketplace that allows individuals to sell handmade items and the platform

facilitates these financial transactions.17 Some people sell virtual content, such as

Zoom backgrounds18 and digital art for modern televisions.19 Similarly, Patreon

is an online community where artists and other creators can offer “memberships”

to supporters in exchange for exclusive content and other benefits.20 Patreon

processes the monthly membership fees.21 If facilitating financial transactions

were to expose these platforms to potential lawsuits based on the artists’ virtual

content, the platforms would be forced to review such virtual content for possible



17
     See Etsy, About, https://www.etsy.com/about.
18
  Rebekah Sayler, Zoom Meeting Backgrounds 4 Pack Bundle,
https://www.etsy.com/listing/939952078/zoom-virtual-background-image-
zoom.
19
  Dan Canopy, Samsung Frame TV Art, Paper Waves,
https://www.etsy.com/listing/1365776378/samsung-frame-tv-art-paper-waves.
20
   Francesca Margherita, How to Structure Your Membership and Price Your
Benefits, Patreon, Creator Hub, https://creatorhub.patreon.com/articles/how-to-
structure-your-membership-and-price-your-benefits.
21
     Patreon, Pricing, https://www.patreon.com/pricing.


                                          17
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legal implications (e.g., state-law obscenity or defamation claims).22 That would

harm all platform users, both creators and their customers, as fewer creators would

be able to monetize their art and might not be accessible on the platforms at all.

Thus, to argue that Defendants may preserve their Section 230(c)(1) immunity

by not facilitating any purchases at all fails to recognize not only that Defendants

should have Section 230(c)(1) immunity when they do, but also that smaller

platforms or those with different business models do not have such a choice.23

Overall, narrowing Section 230(c)(1) immunity in this way would result in

diminished online speech and marketplaces, as the breadth and availability of apps

and content would be severely reduced. See Meta Opening Br. (July 24, 2023) at

57 (highlighting online content available for a fee or via subscription).

      Additionally, a rule that the provision of payment processing services may

be the basis for a loss of Section 230(c)(1) immunity would also have immense




22
  See, e.g., Cyber Temptation (offering a membership for virtual art that is
“NSFW [not safe for work] & XXX CONTENT”), Patreon,
https://www.patreon.com/cybertemptation.
23
  See 2-ER-62, Plaintiffs’ Answer to Petition for Leave to Appeal and
Conditional Cross-Petition (Sept. 22, 2022) at 19 (arguing “[i]f, instead of
handling the transactions themselves and taking a 30% cut, Defendants allowed
the casino apps’ developers to accept payment directly from their users, then
Defendants would face no liability here”).


                                        18
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consequences for all services up and down the internet “stack,”24 not just

companies that provide app stores or other end-user platforms. See Jones, 755

F.3d at 406 n.2 (describing how 230’s immunity extends to “broadband providers,

hosting companies, and website operators”). There are many intermediaries that

enable a financial transaction for an allegedly unlawful piece of content to happen

over the internet, from ISPs that provide internet access to web hosting companies

that house back-end databases.25 Thus, although this case concerns Section

230(c)(1)’s application to app stores, any interpretation of the statute that weakens

its protections impacts the various intermediaries in the chain of content creation,

hosting, distribution (including via sale)—thereby threatening user speech at

multiple choke points.26

      C.     Any Narrowing of Section 230(c)(1) Immunity Would Lead
             Platforms to Severely Censor User-Generated Content

      Plaintiffs’ arguments related to both recommendations and payment

processing would force Defendants and other platforms to severely curtail their


24
  See Geoffrey A. Fowler & Chris Alcantara, Gatekeepers: These Tech Firms
Control What’s Allowed Online, Washington Post (March 24, 2021),
https://www.washingtonpost.com/technology/2021/03/24/online-moderation-
tech-stack/.
25
  See Jonathan Bell, Three Best Payment Gateway Hosts for Secure E-
Commerce in 2023, Digital.com (Jan. 2, 2023), https://digital.com/best-web-
hosting/payment-gateway/.
26
  See EFF, Free Speech: Only As Strong As the Weakest Link,
https://www.eff.org/free-speech-weak-link.


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services or outright censor user-generated content, to mitigate legal exposure in

the absence of Section 230 immunity.

      Any narrowing of Section 230(c)(1) ’s immunity, apart from Plaintiffs’

specific arguments, would incentivize online intermediaries to conduct a review

of third-party content, including either pre-screening or removing after-the-fact

any content that may be even remotely problematic to mitigate their legal risk.

Pre-screening is particularly worrisome as it would prevent content from being

published in the first place, ending the open internet—the unique ability of

anyone with an internet connection to communicate with others around the

world cheaply, easily, and quickly.27

      Yet the ability—both logistically and financially—for modern online

platforms to conduct a fair review is dubious given the incredible volume of

content generated by internet users, resulting in wholly legitimate content being

censored as well. The difficultly of fairly reviewing digital content remains even

more true today than when Congress passed Section 230 in 1996, given the scale

and continued growth of the internet. At that time, about 40 million people used

the internet worldwide, and commercial online services in the United States had



27
  Paige Collins & David Greene, General Monitoring is Not the Answer to the
Problem of Online Harms, EFF Deeplinks (Aug. 16, 2022),
https://www.eff.org/deeplinks/2022/08/general-monitoring-not-answer-problem-
online-harms.


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almost 12 million individual subscribers. See Reno, 521 U.S. at 850–51. As of

April 2023, there were more than 5 billion people online, with 4.8 billion people

using social media platforms.28 Those billions of internet users are creating more

content than at any point in humanity’s history. For example, as of 2022, users of

YouTube, the popular video-based social media platform, were uploading 500

hours of videos each minute.29 Relevant to this case, Google Play hosts two

million apps and games used by “billions of people around the world,

generating over $120 billion in earnings for developers to date.”30 Apple’s

AppStore hosts 1.8 million apps.31

        Given the staggering number of users on today’s internet, requiring online

intermediaries to review every piece of user-generated content they host is

simply not feasible for any open platform of even moderate size. Thus, the

consequences of the new censorship regime that a narrowed Section 230 would

lead to would be felt by all internet users.


28
  See Ani Petrosyan, Number of Internet and Social Media Users Worldwide as
of April 2023, Statista (May 22, 2023),
https://www.statista.com/statistics/617136/digital-population-worldwide/.
29
  Jason Wise, How Many Videos Are Uploaded to YouTube a Day in 2022?
Earthweb (Nov. 22, 2022), https://earthweb.com/how-many-videos-are-
uploaded-to-youtube-a-day/.
30
  Google, How Google Play Works,
https://play.google.com/about/howplayworks/.
31
     Apple, AppStore, https://www.apple.com/app-store/.


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      To keep the cost of human reviewers down, larger, more sophisticated

platforms would likely turn to algorithms or artificial intelligence to flag and

block problematic content. YouTube, which now has over 2 billion users each

month,32 is already using algorithms or artificial intelligence to moderate content

on its platform.33

      But automated tools are not a solution to the sheer volume of user-

generated content created on platforms, because even the best automated

systems lack the ability to identify nuance, context, and cultural differences.34

Automated systems are more likely to result in censorship of journalists, human

rights activists, artists, or any other creators of lawful content.35 In response to


32
  YouTube By The Numbers, YouTube Official Blog,
https://blog.youtube/press/.
33
  Susan Wojcicki, Expanding Our Work Against Abuse of Our Platform,
YouTube Official Blog (Dec. 5, 2017) (“98 percent of the videos we remove for
violent extremism are flagged by our machine-learning algorithms.”),
https://blog.youtube/news-and-events/expanding-our-work-against-abuse-of-
our/.
34
  See Carey Schenkman et al., Do You See What I See? Capabilities and Limits
of Automated Multimedia Content Analysis, Center for Democracy &
Technology, 29-30 (May 2021), https://cdt.org/wp-
content/uploads/2021/05/2021-05-18-Do-You-See-What-I-See-Capabilities-
Limits-of-Automated-Multimedia-Content-Analysis-Full-Report-2033-
FINAL.pdf.
35
  See Corynne McSherry, Platform Censorship: Lessons from the Copyright
Wars, EFF Deeplinks (Sept. 26, 2018),
https://www.eff.org/deeplinks/2018/09/platform-censorship-lessons-copyright-
wars; Sydney Li & Jamie Williams, Despite What Zuckerberg’s Testimony May


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the increased liability, platforms’ use of these automated systems would only

increase, as would online censorship.

      Meanwhile, smaller platforms without the substantial resources required to

manage potential liability in this way—or to weather the significant litigation

costs they would face if they chose not to—would be forced to shut down. And

new companies would be deterred from even trying to offer open platforms for

speech or would be unable to attract investors in the face of such massive legal

exposure.36

      Increased legal risk would end the essential role intermediaries play in

fostering social and political discourse on the internet—not just in the U.S. but

across the globe. Indeed, many individuals around the world use U.S.-based

services to access and distribute all manner of content, from organizing in

opposition to oppressive regimes37 to sharing pictures of children with



Imply, AI Cannot Save Us, EFF Deeplinks (April 11, 2018),
https://www.eff.org/deeplinks/2018/04/despite-what-zuckerbergs-testimony-
may-imply-ai-cannot-save-us.
36
   See Ethan Wham, The Economic Case for Section 230, Disruptive
Competition Project, Computer & Communications Industry Association (Sept.
6, 2019), https://www.project-disco.org/innovation/090619-an-economic-case-
for-section-230/.
37
  See, e.g., Holly Dagres, Meet Iran’s Gen Z: the Driving Force Behind the
Protests, Foreign Policy (Nov. 1, 2022) (“Circumvention tools allow access to
blocked international social media platforms, such as Facebook, Twitter, and
YouTube.”), https://foreignpolicy.com/2022/11/01/iran-protests-gen-z-mahsa-


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grandparents. Indeed, the three largest internet companies globally by revenue are

American companies: Alphabet (Google), Amazon, and Meta (Facebook)—two

of whom are Defendants in this case.38 Such robust, global online participation

would never have been achieved without the immunity provided by Section 230.39

Granting would-be plaintiffs an avenue to circumvent Section 230(c)(1) ’s

protections would undermine this global phenomenon. Because platforms would

be unwilling to take a chance on provocative or unpopular speech, the global

online marketplace of ideas—and as relevant to this case, actual online

marketplaces— would be artificially stunted, and would instead become a

sanitized, bland, homogenous online experience.

II.      Section 230 Incentivizes the Development of Diverse Online Platforms
         for User Speech

         Section 230’s robust protections for online intermediaries—such as

Defendants’ app stores, social media websites, blogging platforms, web hosting

companies, and email services—ensure that they can provide the essential free

expression architecture of today’s internet. The internet depends upon


amini-social-media/; Matt Burgess, Iran’s Protests Reveal What’s Lost If Twitter
Crumbles, Wired (Dec. 1, 2022), https://www.wired.com/story/protests-in-iran-
twitter/.
38
   Andrew Bloomenthal, World’s Top 10 Internet Companies, Investopedia
(Dec. 28, 2022), https://www.investopedia.com/articles/personal-
finance/030415/worlds-top-10-internet-companies.asp.
39
     See Kosseff, Twenty-Six Words, supra n.4, at 145-166.


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intermediaries, “who serve as a vehicle for the speech of others.”40 Indeed, they

are the primary way in which most people engage with one another online. They

give a single person, with minimal resources or technical expertise anywhere in

the world, the ability to communicate with others across the globe. See Reno, 521

U.S. at 870.

      In enacting Section 230 as a whole, including Section 230(c)(1) and

companion immunities in Section 230(c)(2),41 Congress sought to incentivize

online intermediaries to create diverse forums for user speech, in terms of

communities served and the range of editorial approaches, from highly permissive

to more strictly managed. Section 230’s immunities allow online intermediaries

to decide for themselves what user speech they host and how they host it, by

greatly diminishing the fear of liability for those decisions.

      Section 230 thus broadly protects editorial and curatorial discretion and

promotes a variety of forums for user speech.42 The statute has, as Congress


40
  Anupam Chander & Uyên P. Lê, Free Speech, 100 Iowa L. Rev. 501, 514
(2015).
41
  Section 230(c)(2)(A) immunizes online platforms from liability for “any
action voluntarily taken in good faith to restrict access to or availability of
material” that the platform finds objectionable. Section 230(c)(2)(B) immunizes
“any action taken to enable or make available to information content providers
or others the technical means to restrict access” to objectionable material online.
42
  Courts have applied both Section 230(c)(1) and Section 230(c)(2)(A) to
immunize a service’s editorial decisions. See, e.g., NetChoice, LLC v. Moody,


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intended, facilitated the “true diversity of political discourse, unique opportunities

for cultural development, and myriad avenues for intellectual activity.” 47 U.S.C.

§ 230(a)(3).

         Although it is impossible to catalog the many online intermediaries and

approaches to hosting user speech enabled by Section 230, as they are as “diverse

as human thought,” Reno, 521 U.S. at 852, examples include:

         Large, general audience platforms: A majority of the most popular

websites in the United States—YouTube, Facebook, Reddit, Wikipedia, Twitter,

and eBay—offer users a variety of ways to create and share different types of

media.43

         Services that cater to particular types of content creation: Instagram

provides users with an opportunity to primarily share photographs, while TikTok

caters to users creating short videos.44

         Services designed to share and build knowledge: Wikipedia is a free

online encyclopedia that is written by an enormous number of anonymous


546 F. Supp. 3d 1082, 1090 (N.D. Fla. 2021), aff’d on other grounds, 34 F.4th
1196 (11th Cir. 2022) (user content takedown analyzed under Section
230(c)(2)(A)); Domen v. Vimeo, Inc., 433 F. Supp. 3d 592, 602 (S.D.N.Y.
2020), aff’d on other grounds, 2021 WL 4352312 (2d Cir. 2021) (user content
takedown analyzed under Section 230(c)(1)).
43
     See Kosseff, Twenty-Six Words, supra n.4, at 4.
44
 See Instagram, About Instagram, https://about.instagram.com/; TikTok, Our
Mission, https://www.tiktok.com/about?lang=en.


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contributors, most of whom are volunteers.45 The site has more than 60 million

articles in more than 300 languages.46 Libraries offer similar opportunities for

users to help create knowledge. Harvard Library Office of Scholarly

Communications, for example, maintains an open access repository for research

by Harvard community members. These community members have uploaded over

45,000 works of scholarship, including articles, conference proceedings, working

papers, case studies, books and book chapters, theses, and dissertations, into the

repository.47 Many other academic libraries maintain repositories where

community members can upload materials.48 Libraries also provide online

platforms where community members can upload oral histories.49 Likewise, the

Library of Congress’ “By The People” crowdsourcing platform enables patrons



45
  See Wikipedia, Wikipedia: About,
https://en.wikipedia.org/wiki/Wikipedia:About.
46
     Id.
47
     Harvard Library, DASH, https://library.harvard.edu/services-tools/dash.
48
  See, e.g., Yale Law School Lillian Goldman Law Library, Communities in
Yale Law School Open Scholarship Repository, https://openyls.law.yale.edu/;
University of Notre Dame Law School Kresge Law Library, NDLS Scholarship,
https://scholarship.law.nd.edu/.
49
  See, e.g., Library of Congress, Veterans History Project,
https://www.loc.gov/programs/veterans-history-project/; Mid-Continent Public
Libraries, Tell Me a Story Oral History Projects,
https://www.mymcpl.org/genealogy/collections/tell-me-a-story; Erie County
Public Library, Covid-19 Oral History Project,
https://erielibrary.org/resources/covid19-history-project/.


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to tag and annotate parts of its collection.50 The National Archives’ “Citizen

Archivist” program invites users to “make contributions to the National Archives

Catalog to enhance access and discoverability” by “[t]ranscrib[ing] historical

documents, tag[ging] archival photographs, or shar[ing] comments with other

community members.”51 Other institutions providing similar interactive computer

services include the New York Public Library,52 the University of Iowa

Libraries,53 and the Smithsonian Institution.54 Similarly, the Internet Archive

regularly gathers “snapshots”—accessible copies—of content on the World Wide

Web through its “crawling” and indexing processes to prevent the internet and

other digital content from disappearing into the past. The Internet Archive has so

far archived over 818 billion webpages, many of which were archived by users.55




50
  Library of Congress, How to Tag, https://crowd.loc.gov/help-center/how-to-
tag/.
51
  National Archives and Records Administration, Citizen Archivist,
https://www.archives.gov/citizen-archivist.
52
  New York Public Library, Building Inspector, https://www.nypl.org/digital-
research/projects/building-inspector.
53
     University of Iowa Libraries, DIY History, http://diyhistory.lib.uiowa.edu/.
54
  Smithsonian Institution, Smithsonian Digital Volunteers,
https://transcription.si.edu/.
55
  The Internet Archive, Save Pages in the Wayback Machine,
https://help.archive.org/help/save-pages-in-the-wayback-machine/. See also The
Internet Archive (homepage), https://archive.org/.


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        Services that enable people to practice their faith: Even prior to the

COVID-19 pandemic, many religious groups were using online services to offer

or to extend their religious services. For example, a YouTube channel called

“Living Lchaim” started in 2017 with the goal of distributing videos “to help

enrich the lives of Orthodox Jews & the world.”56 Various religious services also

relied on Zoom and other video-conferencing services to meet amid the pandemic,

with some continuing to offer them today because they allow remote

participation.57

        Services that enable people to create their own websites and forums:

WordPress is a free and open-source content management system available in

over 50 languages that allows users around to globe to create free websites or

blogs.58 By 2022, people had used WordPress to create more than 455 million




56
     See About, Living Lchaim, https://www.youtube.com/@LivingLchaim/about.
57
  See Melissa Florer-Bixler, Why My Church Isn’t Dropping Our Online
Service, Sojourners (Feb. 2, 2022), https://sojo.net/articles/why-my-church-isn-t-
dropping-our-online-service; Ivy Eisenberg, How the Zoom Minyan Brought Me
Closer to Judaism, Table (Jan. 18, 2021),
https://www.tabletmag.com/sections/belief/articles/zoom-minyan-brought-me-
closer-to-judaism.
58
  Radoslov Ch., What Percentage of Websites are WordPress in 2022?,
Techjury (Oct. 16, 2022), https://techjury.net/blog/percentage-of-wordpress-
websites/.


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websites. Many of those WordPress sites are blogs, and WordPress users create

an estimated 70 million new blog posts each month.59

           Services that create online marketplaces: Shopify is an e-commerce

platform that helps customers create websites for their online stores.60 Etsy, as

mentioned above, supra Part I.B., is an online site that allows individuals to sell

handmade crafts, jewelry, toys, art, and other goods.61 Other online services that

create spaces for individual buyers and sellers include eBay,62 which similarly

facilitates sales directly between two parties, and Craigslist, the online classified

advertising website.63

           Services that cater to users based on their viewpoints and special

interests: Gettr is a “social media platform founded on the principles of free

speech, independent thought, and rejecting political censorship and ‘cancel

culture,’”64 but nevertheless reserves the right to “address” content that attacks



59
     Id.
60
  Shopify Partners, A Commerce Solution Freelancers and Agencies Love,
https://www.shopify.com/partners/platform-features.
61
  Meira Gebel, What is Etsy? Everything You Need to Know Before Buying or
Selling on the Handmade and Vintage E-commerce Platform for Independent
Creators, Business Insider (Dec. 18, 2020),
https://www.businessinsider.com/guides/tech/what-is-etsy.
62
     Ebay (homepage), https://www.ebay.com/.
63
     Craigslist (homepage), https://www.craigslist.org/about/sites.
64
     Gettr (homepage), https://gettr.com/landing.


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any religion or race.65 Roblox, a rapidly growing social network where users build

and play their own games, promotes “optimism and civility,” and thus prohibits

certain content that is common on other platforms, such as profanity, content that

“seeks real world romantic relationships,” and much political content.66 As the

Eleventh Circuit summarized:

         Social-media platforms include both massive websites with billions
         of users—like Facebook, Twitter, YouTube, and TikTok—and
         niche sites that cater to smaller audiences based on specific
         interests or affiliations—like Roblox (a child-oriented gaming
         network), ProAmericaOnly (a network for conservatives), and
         Vegan Forum (self-explanatory).
NetChoice, 34 F.4th at 1204.

         Services created in response to concerns about large online

intermediaries: Truth Social and other platforms were developed in response to

a perceived bias against conservative voices on the large mainstream social media

platforms.67 It bills itself as a “‘Big Tent’ social media platform that encourages




65
     Gettr, Terms of Use, https://gettr.com/terms.
66
  Roblox, Roblox Community Standards, https://en.help.roblox.com/hc/en-
us/articles/203313410-Roblox-Community-Standards.
67
   See Philip Bump, The Politics Undergirding the Social Media Fight,
Washington Post (July 7, 2023),
https://www.washingtonpost.com/politics/2023/07/07/threads-twitter-media-
fight/.


                                          31
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an open, free, and honest global conversation without discriminating on the basis

of political ideology.”68

         Services that offer a diverse range of moderation practices: Many

platforms work with users to moderate content and to establish community

guidelines. For example, Reddit and Discord rely on certain users to moderate

content through the practice of “community moderation.” Reddit users manage

and create thousands of communities, called “subreddits.” Although Reddit has

an overriding content policy, a moderator makes the decisions within each

subreddit as guided by Reddit’s “Moderator Guidelines for Healthy

Communities.”69 Discord employs a similar model.70 Each site empowers some

users to remove and down-rank other users’ speech if that speech is against the

community’s rules.71 These platforms allow some users to change what other

users see on the platform. Other platforms allow individual users to report content




68
     Truth Social (homepage), https://truthsocial.com/.
69
  Reddit, Moderator Code of Conduct (effective Sept. 8, 2022),
https://www.redditinc.com/policies/moderator-guidelines.
70
     Discord, Moderating on Discord, https://discord.com/moderation.
71
  See, e.g., Reddit, Reddiquette, https://reddit.zendesk.com/hc/en-
us/articles/205926439-Reddiquette.


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that violates the law or the platform’s policies and change what content they

themselves see.72

         Services that give users tools to create their own online experience:

Section 230 also empowers internet users and service providers to control their

online experiences and to decide for themselves what content they would like to

view.73 This ultimately ensures that internet users have a plethora of choices when

looking for filtering tools, either for themselves or their families, workplaces,

schools, libraries, and so on. Section 230 also ensures that platforms have choices

so they can create online spaces for a diverse array of audiences. For example,

Section 230(c)(2)(B) incentivizes tools such as Privacy Badger, developed by

amicus EFF. Privacy Badger is a browser add-on that was designed for internet

users who want to browse the internet without having a third party secretly track




72
  See, e.g., Facebook, How to Report Things,
https://www.facebook.com/help/181495968648557?rdrhc; Facebook, How Do I
Take a Break From Someone’s Profile on Facebook?,
https://www.facebook.com/help/1638212473101795.
73
     See 47 U.S.C. § 230(c)(2)(B).


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them.74 It allows users to block trackers and advertisements as they browse the

web.75

                                CONCLUSION

      Amicus respectfully requests that this Court affirm the district court’s

holdings on Plaintiffs’ first and third theories of liability, and reverse on the

second theory of liability, to ensure that Section 230 broadly protects internet

users’ free speech.

August 1, 2023                        Respectfully submitted,

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                                      Electronic Frontier Foundation




74
  EFF, What is Privacy Badger?, https://privacybadger.org/#What-is-Privacy-
Badger.
75
  EFF, Privacy Badger, https://www.eff.org/privacybadger; EFF, How Does
Privacy Badger Work?, https://privacybadger.org/#How-does-Privacy-Badger-
work.


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      Pursuant to Fed. R. App. P. 32(g), I certify as follows:

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Support of Defendants-Appellants and Affirmance in Part and Reversal in Part,

complies with the type-volume limitation of Fed. R. App. P. 32(a)(7)(B) because

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      I hereby certify that I electronically filed the foregoing with the Clerk of

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